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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                               )
     In re:                                                    )        Chapter 11
                                                               )
     SIZMEK INC., et al.,1                                     )        Case No. 19-10971 (SMB)
                                                               )
                                       Debtors.                )        (Jointly Administered)
                                                               )

         ORDER GRANTING IN PART DEBTORS’ MOTION FOR ORDER PURSUANT
        TO BANKRUPTCY CODE SECTIONS 105, 365, AND 554, BANKRUPTCY RULES
        6006 AND 9014, AND LOCAL BANKRUPTCY RULE 6006-1 AUTHORIZING AND
        APPROVING EXPEDITED PROCEDURES FOR REJECTION OR ASSUMPTION
         OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND GRANTING
                                  RELATED RELIEF

                    Upon the motion (the “Motion”)2 of Debtors for an order, pursuant to sections 105,

 365, and 554 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 6006 and 9014

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 6006-1 of the

 Local Bankruptcy Rules for the Southern District of New York (the “Local Bankruptcy Rules”),

 authorizing and approving procedures (the “Contract Procedures”) for Debtors to reject or assume

 executory contracts and unexpired leases (the “Contracts”) and granting related relief; and due and

 sufficient notice of the Motion having been given under the particular circumstances; and it

 appearing that no other or further notice need be provided; and it appearing that the relief requested

 by the Motion is in the best interests of Debtors, their estates, their creditors, their stakeholders,

 and other parties in interest; and after due deliberation thereon, and sufficient cause appearing

 therefor, it is hereby


 1
       Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
       Inc. (6402); Wireless Artist LLC (0302); WirelessDeveloper, Inc. (9686); X Plus One Solutions, Inc. (8106);
       and X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter
       11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

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                        ORDERED, ADJUDGED AND DECREED that:

      1.       The Motion is GRANTED as set forth herein.

      2.       Debtors’ relief requested in connection with the rejection of Contracts during the

 course of Debtors’ chapter 11 cases was previously granted pursuant to Order Granting in Part

 Debtors’ Motion for Order Pursuant to Bankruptcy Code Sections 105, 365, and 554, Bankruptcy

 Rules 6006 and 9014, and Local Bankruptcy Rule 6006-1 Authorizing and Approving Expedited

 Procedures for Rejection or Assumption of Executory Contracts and Unexpired Leases and

 Granting Related Relief [Docket No. 183].

      3.       Debtors are authorized to implement the following approved procedures (the

 “Assumption Procedures”) in connection with the assumption and/or the assumption and

 assignment of Contracts during the course of Debtors’ chapter 11 cases:

               a.      Assumption Notice. Debtors will file a notice to assume any Contract (the
                       “Assumption Notice”), which notice shall be in form and substance
                       reasonably satisfactory to the Committee and the Prepetition Secured
                       Parties (as defined in the First Day Declaration), pursuant to Bankruptcy
                       Code section 365, substantially in the form attached hereto as Exhibit 1,
                       which shall set forth the following information, based on the best
                       information available to Debtors and as applicable: (i) the Contract(s) to be
                       assumed; (ii) the Debtor or Debtors party to such Contract(s); (iii) the
                       name(s) and address(es) of the counterparties to such Contract(s); (iv) the
                       identity of the proposed assignee of such Contract(s) (the “Assignee”), if
                       applicable; (v) the proposed effective date of the assumption for each such
                       Contract (the “Assumption Date”), which date may not be before the date
                       of service of the Assumption Notice; (vi) the proposed cure amount, if any;
                       (vii) evidence of the Assignee’s financial wherewithal to meet all future
                       obligations under the Contract, thereby demonstrating that Assignee has the
                       ability to comply with the requirements of adequate assurance of future
                       performance (the “Adequate Assurance Package”); and (viii) the deadlines
                       and procedures for filing objections to the Assumption Notice, as set forth
                       below.

               a.      Service of the Assumption Notice. Debtors will cause the Assumption
                       Notice to be served upon the following parties (collectively, the
                       “Assumption Notice Parties”), in the following manner: (i) by overnight
                       delivery service, email, or fax on any non-Debtor Contract counterparty


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                       affected by the Assumption Notice, and (ii) by first class mail, email or fax
                       upon (a) the Office of the United States Trustee, U.S. Federal Office
                       Building, 201 Varick Street, Suite 1006, New York, NY 10014, Attn:
                       Richard C. Morrissey (richard.morrissey@usdoj.gov); (b) counsel to the
                       Prepetition Secured Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999
                       Avenue of the Stars, 39th Floor, Los Angeles, California 90067, Attn:
                       Thomas E. Patterson & David A. Fidler (tpatterson@ktbslaw.com and
                       dfidler@ktbslaw.com); (c) counsel to the Committee, Cooley LLP, 55
                       Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and Michael
                       Klein (svanaalten@cooley.com and mklein@cooley.com); and (d) to the
                       extent not listed herein, any such other party entitled to notice pursuant to
                       Local Bankruptcy Rule 9013-1(b).

               b.      Objection Procedures. Parties objecting to a proposed assumption or
                       assumption and assignment of a Contract, including to the proposed cure
                       amount, must file and serve a written objection so that such objection is
                       filed with the Court and is actually received by the following parties no later
                       than fourteen (14) calendar days after the date Debtors serve the relevant
                       Assumption Notice: (i) counsel to Debtors, Katten Muchin Rosenman LLP,
                       575 Madison Ave., New York, NY 10022, Attn: Steven J. Reisman
                       (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W.
                       Monroe Street, Chicago, IL 60661, Attn: Peter A. Siddiqui
                       (peter.siddiqui@kattenlaw.com); (ii) the Office of the United States
                       Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New
                       York, NY 10014, Attn: Richard Morrissey (richard.morrissey@usdoj.gov);
                       (iii) counsel to the Prepetition Secured Lenders, Klee, Tuchin, Bogdanoff
                       & Stern LLP, 1999 Avenue of the Stars, 39th Floor, Los Angeles, California
                       90067, Attn: Thomas E. Patterson & David A. Fidler
                       (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); and (iv) proposed
                       counsel to the Committee, Cooley LLP, 55 Hudson Yards, New York, NY
                       10001, Attn: Seth Van Aalten and Michael Klein (svanaalten@cooley.com
                       and mklein@cooley.com).

               c.      No Objection. If no objection to the assumption of a Contract is timely filed
                       in compliance with subparagraph (c) of this paragraph, Debtors may submit
                       to the Court a proposed order under certification of counsel (the
                       “Assumption Order”) granting such relief and including a statement
                       confirming the absence of a timely objection. Following the filing of such
                       Assumption Order, then (i) Debtors’ proposed cure amount with respect to
                       such Contract shall be binding upon the non-debtor counterparty to the
                       Contract for all purposes in these chapter 11 cases and (ii) such Contract
                       shall be deemed assumed as of the Assumption Date set forth in the
                       Assumption Notice, unless (a) Debtors withdraw such Assumption Notice
                       on or prior to the Assumption Date or (b) Debtors and the pertinent
                       counterparty or counterparties agree, prior to the Assumption Date, upon
                       another such date.


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                  d.       Unresolved Objections. If an objection to the assumption of any Contract
                           is timely filed and not withdrawn or resolved, Debtors shall file a notice for
                           a hearing to consider the objection for the Contract(s) to which such
                           objection relates. If such objection is overruled or withdrawn, such
                           Contract(s) shall be assumed as of the Assumption Date set forth in the
                           Assumption Notice or such other date as Debtors and the pertinent
                           counterparty or counterparties otherwise agree.

       4.                  With regard to Contracts to be assigned, pursuant to Bankruptcy Code

 section 363(f), the assignment of any Contract shall: (a) be free and clear of (i) all liens (and any

 liens shall attach to the proceeds in the same order and priority subject to all existing defenses,

 claims, setoffs, and rights) held by the Prepetition Secured Parties (as defined in the First Day

 Declaration) and (ii) any and all claims (as that term is defined in Bankruptcy Code section 101(5)),

 obligations, demands, guarantees of or by Debtors, debts, rights, contractual commitments,

 restrictions, interests, and matters of any kind and nature that are held by Prepetition Secured

 Parties, whether arising prior to or subsequent to the commencement of these chapter 11 cases,

 and whether imposed by agreement, understanding, law, equity, or otherwise (including, without

 limitation, claims, and encumbrances (A) that purport to give to any Prepetition Secured Party a

 right or option to effect any forfeiture, modification, or termination of the interest of any Debtor

 or Assignee, as the case may be, in the Contract(s), or (B) in respect of any taxes); and

 (b) constitutes a legal, valid, and effective transfer of such Contract(s) and vests the applicable

 Assignee with all rights, titles, and interests to the applicable Contract(s).3

       5.         Subject to and conditioned upon the occurrence of a closing with respect to the

 assumption and assignment of any Contract, and subject to the other provisions of this Order

 (including the aforementioned Assumption Procedures), and upon notice to the Prepetition

 Secured Parties and the Committee and an opportunity to object thereto, Debtors are hereby


 3
  For the avoidance of doubt, this paragraph 4 does not purport to waive or otherwise modify the claims or interests
 of any parties other than the Prepetition Secured Parties.

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 authorized in accordance with Bankruptcy Code sections 365(b) and (f) to (a) assume and assign

 to any Assignees the applicable Contract(s), with any applicable Assignee being responsible only

 for the post-closing liabilities under the applicable Contract(s) except as otherwise provided for in

 this Order and (b) execute and deliver to any applicable Assignee such assignment documents as

 may be reasonably necessary to sell, assign and transfer such Contract(s).

      6.        Debtors’ right to assert that any provisions in a Contract that expressly or

 effectively restrict, prohibit, condition or limit the assignment of or the effectiveness of the

 Contract are unenforceable anti-assignment or ipso facto clauses is fully reserved.

      7.        An Assignee shall have no liability or obligation with respect to defaults relating to

 the assigned Contracts arising, accruing, or relating to a period prior to the applicable closing date,

 except to the extent otherwise agreed upon by Debtors and such Assignee.

      8.        Debtors are hereby authorized, subject to the consent of the Prepetition Secured

 Parties and the Committee, pursuant to Bankruptcy Code section 363(b), to enter into any non-

 material amendments to assumed Contracts set forth in an Assumption Notice.

      9.        Debtors are authorized to take all actions necessary to effectuate the relief granted

 pursuant to this Order in accordance with the Motion and the Assumption Notice.

     10.        The 14-day stay required of any assignment of any Contract pursuant to Bankruptcy

 Rule 6006(d) is hereby waived.

     11.        The Assumption Procedures shall govern the assumption (or assumption and

 assignment) of Contracts in these chapter 11 cases, except to the extent Debtors and a counterparty

 or counterparties to a Contract have agreed otherwise in writing and the Prepetition Secured Parties

 and the Committee have received notice and an opportunity to object to such alternative agreement,




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 in which case the terms of such alternative agreement shall govern the assumption of the Contract,

 as applicable, with respect to such counterparty or counterparties.

     12.        Nothing in the Motion or this Order shall be deemed or construed as: (a) an

 admission as to the validity, amount, or priority of any particular claim against Debtors; (b) a

 waiver of Debtors’ rights to dispute any particular claim on any grounds; (c) a promise to pay any

 particular claim; (d) an assumption or rejection of any executory contract or unexpired lease

 pursuant to Bankruptcy Code section 365; (e) an implication or admission that any particular claim

 is of a type specified or defined in the Motion; (f) an admission by Debtors that a Contract is

 executory or unexpired, as applicable; or (g) a waiver or limitation of Debtors’ rights under the

 Bankruptcy Code or any other applicable law.

     13.        All rights and defenses of Debtors with respect to any Contract are preserved,

 including all rights and defenses of Debtors with respect to any subsequently filed proof of claim

 for damages arising as a result of a Contract rejection, including, but not limited to, any right of

 Debtors to assert an offset, recoupment, counterclaim, or deduction. In addition, nothing in this

 Order or the Motion shall limit Debtors’ ability to subsequently assert that any particular Contract

 is terminated and/or is not an executory contract or unexpired lease, respectively.

     14.        Notwithstanding the approval of the Contract Procedures, nothing contained in this

 Order shall prevent Debtors from seeking to reject or assume any Contract or Contracts by separate

 motion.

     15.        Notwithstanding anything to the contrary contained in this Order or in the Motion,

 any payment, obligation or other relief authorized by this Order shall be subject to and limited by

 the requirements imposed on Debtors under the terms of any interim or final orders regarding the

 use of cash collateral (any such order, a “Cash Collateral Order”) or any budget in connection



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 therewith, approved by the Court in these chapter 11 cases. In the event of any conflict between

 the terms of this Order and the Cash Collateral Order, the terms of the Cash Collateral Order shall

 control (solely to the extent of such conflict).

     16.        Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective and

 enforceable immediately upon entry hereof.

     17.        The requirements set forth in Local Bankruptcy Rule 9013-1(b) are satisfied by the

 contents of the Motion.

     18.        Debtors are authorized and empowered to take all actions necessary to implement

 the relief granted in this Order.

     19.        This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation or interpretation of this Order.


  New York, NY
  Dated: June 4, 2019
                                                    /s/ STUART M. BERNSTEIN
                                                    THE HONORABLE STUART M. BERNSTEIN
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1
                                Assumption Notice




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 Steven J. Reisman, Esq.                                          Peter A. Siddiqui, Esq. (admitted pro hac vice)
 Jerry L. Hall, Esq. (admitted pro hac vice)                      KATTEN MUCHIN ROSENMAN LLP
 Cindi Giglio, Esq.                                               525 W. Monroe Street
 KATTEN MUCHIN ROSENMAN LLP                                       Chicago, IL 60661
 575 Madison Avenue                                               Telephone:     (312) 902-5455
 New York, NY 10022                                               Facsimile:     (312) 902-1061
 Telephone:      (212) 940-8800                                   peter.siddiqui@kattenlaw.com
 Facsimile:      (212) 940-8876
 sreisman@kattenlaw.com
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 cindi.giglio@kattenlaw.com


 Counsel to Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                 )
     In re:                                                      )        Chapter 11
                                                                 )
     SIZMEK INC., et al.,1                                       )        Case No. 19-10971 (SMB)
                                                                 )
                                         Debtors.                )        (Jointly Administered)
                                                                 )


              NOTICE OF ASSUMPTION OF [A] CERTAIN EXECUTORY CONTRACT[S]
                             [AND/OR UNEXPIRED LEASE[S]]

              PLEASE TAKE NOTICE that, on [                                 ], 2019, the United States Bankruptcy

 Court for the Southern District of New York (the “Court”) entered the order [Docket No. ]                         (the

 “Order”) granting the motion (the “Motion”)2 of Debtors for an order, pursuant to Bankruptcy

 Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local Bankruptcy

 Rule 6006-1, authorizing and approving, among other things, procedures for Debtors to assume

 executory contracts and unexpired leases (each a “Contract”).


     1
         Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
         Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. and
         (8106); X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these
         chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order and by

 this written notice (this “Assumption Notice”), Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby assumed or assumed and assigned effective as of the date (the

 “Assumption Date”) set forth on Schedule 1, or such other date as Debtors and the counterparty

 or counterparties to such Contract(s) agree.

        PLEASE TAKE FURTHER NOTICE that, [Debtor/Assignee], has the financial

 wherewithal to meet all future obligations under the Contract, as evidenced by the Adequate

 Assurance Package attached hereto as Schedule 2, thereby demonstrating that [Debtor/Assignee]

 has the ability to comply with the requirements of adequate assurance of future performance.

        PLEASE TAKE FURTHER NOTICE that, Debtors’ records reflect the amounts owing,

 if any, for prepetition arrearages as set forth in Schedule 1 (the “Cure Amount”).

        PLEASE TAKE FURTHER NOTICE that, parties seeking to object to Debtors’

 assumption of any Contract listed in Schedule 1 must file and serve a written objection, so that

 such objection is filed with the Court and is actually received no later than fourteen (14) calendar

 days after the date that Debtors served this Assumption Notice, upon the following parties: (i)

 counsel to Debtors, Katten Muchin Rosenman LLP, 575 Madison Ave., New York, NY 10022,

 Attn: Steven J. Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W.

 Monroe Street, Chicago, IL 60661, Attn: Peter A. Siddiqui (peter.siddiqui@kattenlaw.com); (ii)

 the Office of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite

 1006, New York, NY 10014, Attn: Richard C. Morrissey (richard.morrissey@usdoj.gov); (iii)

 counsel to the Prepetition Secured Parties, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue

 of the Americas, 39th Floor, Los Angeles, CA 90067, Attn: Thomas El Patterson and David A.



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 Filder (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); (iv) counsel to the Committee,

 Cooley LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and Michael Klein

 (svanaalten@cooley.com and mklein@cooley.com); (v) to the extent not listed herein, any such

 other party entitled to notice pursuant to Local Bankruptcy Rule 9013-1(b).

          PLEASE TAKE FURTHER NOTICE that, absent an objection being untimely filed, the

 assumption of any Contract listed on Schedule 1 shall become effective on the Assumption Date

 set forth in Schedule 1 without further notice, hearing or order of this Court, unless (i) Debtors

 withdraw such Assumption Notice on or prior to the Assumption Date or (ii) Debtors and the

 pertinent counterparty or counterparties agree, prior to the Assumption Date, upon another such

 date.3

                [Remainder of Page Intentionally Left Blank; Signature Page Follows.]




 3
     An objection to the assumption of any particular Contract listed in Schedule 1 to this Assumption Notice shall
     not constitute an objection to the assumption of any other Contract listed in Schedule 1. Any objection to the
     assumption of any particular Contract must state with specificity the Contract(s) to which it is directed. For
     each particular Contract whose assumption is not timely or properly objected to, such assumption will be
     effective in accordance with this Assumption Notice and Order.

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 Dated: June _____, 2019               /s/
 New York, New York                    KATTEN MUCHIN ROSENMAN LLP
                                       Steven J. Reisman, Esq.
                                       Jerry L. Hall, Esq. (admitted pro hac vice)
                                       Cindi M. Giglio, Esq.
                                       575 Madison Avenue
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                                       -and-

                                       Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                       KATTEN MUCHIN ROSENMAN LLP
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                                       Telephone: (312) 902-5455
                                       Email:      peter.siddiqui@kattenlaw.com

                                       Counsel to Debtors and Debtors-in-Possession




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                                    SCHEDULE 1

                                 Assumed Contracts


  Debtors(s)   Counterparty    Counterparty   Description of   Abandoned   Rejection
   Party to                      Address        Contract        Personal     Date
  Contract                                                      Property
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                                  SCHEDULE 2

                           Adequate Assurance Package
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                                    Exhibit B
                                     Redline
